Case 2:02-cr-81149-AC-MKM ECF No. 226, PageID.1272 Filed 08/04/05 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



ROMALL CHAPMAN,

       Plaintiff,
                                                          Criminal No. 02-81149-07
v.                                                        Civil No. 05-71211

UNITED STATES OF AMERICA,                                 HONORABLE AVERN COHN

       Defendant.

______________________________________/

                    ORDER DENYING CERTIFICATE OF APPEALABILITY

                                              I.

       This is a habeas case under 28 U.S.C. § 2255. Pro se petitioner Romall Chapman

(Chapman) claimed that he is incarcerated in violation of his constitutional rights.

Specifically, Chapman claimed that (1) he had ineffective assistance of counsel at

sentencing, (2) his sentence is unlawful because it was based on facts that were neither

admitted nor proved beyond a reasonable doubt, and (3) he should be re-sentenced in light

of U.S. v. Booker, __ U.S. __, 125 S.Ct. 738 (2005). The Court denied the motion. See

Memorandum and Order filed July 5, 2005.

                                              II.

       Before Petitioner can appeal the Court’s decision, a certificate of appealability (COA)

must issue. See 28 U.S.C. § 2253(c)(1) and Fed. R. App. P. 22(b). A COA may be issued

“only if the applicant has made a substantial showing of the denial of a constitutional right.”

28 U.S.C. § 2253(c)(2). In Slack v. McDaniel, 529 U.S. 473, 120 S. Ct. 1595 (2000), the
Case 2:02-cr-81149-AC-MKM ECF No. 226, PageID.1273 Filed 08/04/05 Page 2 of 3




United States Supreme Court held that where a petition is rejected on the merits, “the

petitioner must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” 120 S. Ct. at 1604. The

Supreme Court also explained that where the petition is dismissed on procedural grounds,

petitioner must show “that reasonable jurists could debate whether (or, for that matter,

agree that) the petition should have been resolved in a different matter or that the issues

presented were ‘adequate to deserve encouragement to proceed further.’” 120 S. Ct. at

1603-04 (quoting Barefoot v. Estelle, 463 U.S. 880, 898 n.4 (1983)). The Supreme Court

recently explained that “[t]his threshold inquiry does not require full consideration of the

factual or legal bases adduced in support of the claims.” Miller-El v. Cockrell, 123 S.Ct.

1029, 1039 (2003). “A prisoner seeking a COA must prove ‘something more than the

absence of frivolity’ ‘or the existence of mere good faith on his or her part.’” A prisoner need

not prove that “some jurists would grant the petition for habeas corpus .... a claim can be

debatable even though every jurist of reason might agree, after the COA has been granted

and the case has received full consideration, that petitioner will not prevail.” Id. at 1040.

       In this circuit, the Court must make an individualized determination of each claim

raised in the petition in considering whether or not to grant a COA. See Murphy v. State

of Ohio, 263 F.3d 466 (6th Cir. 2001) (per curiam). Where, as here, a Petitioner files a

notice of appeal, the Court must issue a order granting or denying a COA. Castro v. United

States, 310 F.3d 900 (6th Cir. 2002) (per curiam).




                                              III.

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Case 2:02-cr-81149-AC-MKM ECF No. 226, PageID.1274 Filed 08/04/05 Page 3 of 3




       Having reviewed Petitioner’s notice of appeal, the Court finds, for all the reasons

stated in the Memorandum and Order of July 7, 2005, that reasonable jurists would not

debate the Court’s conclusion that Petitioner is not entitled to relief under § 2255.

Accordingly, a COA is DENIED.

       SO ORDERED.



                                           s/Avern Cohn
Dated: August 4, 2005                                 AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was sent to counsel of record on this
date, August 4, 2005, by electronic and/or ordinary mail.

                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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